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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. LA CV 22-02344-MEMF-(GJSx) Date  ceptember 14, 2023
Title Jane Doe v. Joseph Diaz, Jr.

PRESENT: Honorable Maame Ewusi-Mensah Frimpong
United States District Judge

Kelly Davis Katie Thibodeaux

Courtroom Deputy Clerk Court Reporter

Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Rajan Dhungana Not Present

PROCEEDINGS: MOTION HEARING (Held and Completed)

Case called. No appearances are made by the defendant. Court and
counsel confer re: the Motion to Strike Defendant's Answer filed by Plaintiff Jane
Doe [68]. The Court takes the matter under submission. All pending hearing
dates are vacated by the Court. A separate Court order shall issue.

02

Initials of Deputy kd
Clerk

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